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                  IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION




UNITED STATES OF AMERICA                                                    PLAINTIFF

vs.                               NO. 4:13CR00148-004 SWW

MERVIN JOHNSON                                                              DEFENDANT



                                             ORDER

       The Court has been advised that this defendant has had no contact with his appointed

attorney and attempts to contact him by Court personnel have been unsuccessful.

       IT IS THEREFORE ORDERED that the matter of the appointment of new counsel hereby

is referred to U. S. Magistrate Judge J. Thomas Ray for determination and appointment, if necessary.

       DATED this 23rd day of April 2014.



                                                     /s/Susan Webber Wright
                                                     UNITED STATES DISTRICT JUDGE
